                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

  UNITED STATES OF AMERICA                        )
                                                  )        Case No. 4:20-cr-22
  v.                                              )
                                                  )        Judge Travis R. McDonough
  DANNY JACOBS                                    )
                                                  )        Magistrate Judge Susan K. Lee
                                                  )


                                              ORDER



          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

  the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count Four of the

  twelve-count Indictment; (2) accept Defendant’s guilty plea as to Count Four; (3) adjudicate the

  Defendant guilty of Count Four; (4) defer a decision on whether to accept the plea agreement

  until sentencing; and (5) order that Defendant remain in custody until sentencing in this matter

  (Doc. 179). Neither party filed a timely objection to the report and recommendation. After

  reviewing the record, the Court agrees with Magistrate Judge Lee’s report and recommendation.

  Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

  recommendation (Doc. 179) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       1. Defendant’s motion to withdraw his not guilty plea as to Count Four of the Indictment is
          GRANTED;

       2. Defendant’s plea of guilty to Count Four is ACCEPTED;

       3. Defendant is hereby ADJUDGED guilty of Count Four;

       4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

       5. Defendant SHALL REMAIN in custody until sentencing in this matter which is scheduled
          to take place on September 24, 2021 at 9:00 a.m. [EASTERN] before the undersigned.




Case 4:20-cr-00022-TRM-SKL Document 208 Filed 06/08/21 Page 1 of 2 PageID #: 623
     SO ORDERED.


                                     /s/Travis R. McDonough
                                     TRAVIS R. MCDONOUGH
                                     UNITED STATES DISTRICT JUDGE




                                      2
Case 4:20-cr-00022-TRM-SKL Document 208 Filed 06/08/21 Page 2 of 2 PageID #: 624
